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8                         UNITED STATES DISTRICT COURT
9                       SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        Case No.: 15cr2160-MMA-1
12                                   Plaintiff,
                                                      ORDER AND JUDGMENT OF
13   v.                                               DISMISSAL
14   MOISES OMAR TAPIA-BALERA (1),
15                                 Defendant.         [Doc. No. 18]

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17         Upon due consideration, good cause appearing, the Court GRANTS the
18   government’s motion and DISMISSES the Information in the above-entitled case as to
19   Defendant Moises Omar Tapia-Balera without prejudice.
20         IT IS SO ORDERED AND ADJUDGED.
21   DATE: October 2, 2015               ________________________________________
                                         HON. MICHAEL M. ANELLO
22                                       United States District Judge
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